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                        EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

VAXCEL INTERNATIONAL CO., LTD.,
                                                    Civil Action No. 1:15-cv-00696
        Plaintiff,
                                                    The Honorable John R. Blakey
v.
                                                    Magistrate Judge Mary M. Rowland
HEATHCO LLC, AND
LOWE’S COMPANIES, INC.,

        Defendants.

                     DEFENDANTS’ INITIAL INVALIDITY CONTENTIONS

         Pursuant to Local Patent Rule (“LPR”) 2.3, Defendants HeathCo LLC (“HeathCo”) and

 Lowe’s Companies, Inc. (“LCI”) (together, “Defendants”) hereby serve their Initial Invalidity

 Contentions. These Initial Invalidity Contentions are responsive to Plaintiff Vaxcel International

 Co. Ltd.’s (“Vaxcel” or “Plaintiff”) Initial Infringement Contentions, and as such, only address

 the asserted claims of U.S. Patent No. 8,310,163 (“the ’163 patent”) identified in those Initial

 Infringement Contentions.

         Plaintiff’s Initial Infringement Contentions accuse LCI of infringement. However, as LCI

 has informed Plaintiff, LCI does not manufacture, use, sell, import or export the accused

 products in this action, and does not induce or contribute to any manufacture, use, sale, import or

 export of the accused products in this action. Therefore, LCI cannot be liable for infringement of

 the patent in suit. In addition to this fundamental defense, LCI joins in these Initial Invalidity

 Contentions.

         Plaintiff has asserted that Defendants each infringe claims 1, 7, 9, 18 and 19 of the ’163

 patent (“the Asserted Claims”). Defendants deny that they infringe the Asserted Claims. In

 addition, each of the Asserted Claims is invalid under 35 U.S.C. §§ 101, 102, 103 and/or 112.
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          To the extent that Plaintiff attempts to construe the Asserted Claims of the ’163 patent to

cover the Accused Instrumentalities, as defined in its Initial Infringement Contentions, the

Asserted Claims would be invalid on the following grounds:

          The Asserted Claims are invalid under 35 U.S.C. § 101, which the Supreme Court has

interpreted to bar the issuance of patents on “laws of nature, physical phenomena, and abstract

ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980). The Asserted Claims claim novelty

in the fact that “the zero-crossing-point time-delay pulse lags with a time difference behind the

edge of the symmetric square-wave, wherein the said time difference ranges from (to) to

(1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f is frequency of the AC power, Vm is voltage

amplitude of the AC power and Vt is threshold voltage for the electric current flowing in the

lighting load.” (See, e.g., HEATH000127.) However, the equation for to is nothing more that the

equation that calculates a time from the last zero-crossing-point to the time for any given voltage

(Vt) along the sine wave generated by AC current. That is, to is determined entirely by the

mathematics of sine waves created by AC generators. Similarly, the claimed range is nothing

more than the range along the sine wave where the voltage is greater than any given selected

voltage Vt. Because one cannot patent a mathematical concept, the Asserted Claims of the ’163

patent are invalid under § 101. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355–56

(2014).

          Based on Plaintiff’s Preliminary Infringement Contentions asserting that the SH-5105-BZ

infringes the Asserted Claims, claims 1, 9, 18 and 19 are invalid under §§ 102(a) and (b) based

on HeathCo’s public use and/or sale of the SH-5105 models (“the DualBrite Prior Art”) since at

least August 7, 2008 (HEATH000143). ). Vanmoor v. Walmart Stores, Inc., 201 F.3d 1331 (Fed.

Cir. 2000). HeathCo’s public use and/or sale of the DualBrite Prior Art renders claim 7 obvious




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by itself in light of the knowledge of a person skilled in the art and/or in light of U.S. Patent No.

8,598,805 (“Tremblay”) (HEATH000568–78). See Chart 1, infra, which identifies where

specifically in the DualBrite Prior Art each element of each Asserted Claim is found. It would

have been obvious to one of ordinary skill in the art as of at least August 24, 2010 to combine the

teachings of the DualBrite Prior Art with the knowledge of one skilled in the art and/or the

Tremblay because they all teach similar matters in the narrow field of lighting systems and

involve substituting only a limited number of elements for other elements with a predictable

effect.

          U.S. Patent No. 7,190,125 (filed July 15, 2004 and issued March 13, 2007)

(“McDonough”), HEATH000552–67, anticipates claims 1, 9 and 18 of the ’163 patent, or

alternatively, renders the subject matter of claims 1, 9 and 18 obvious, and renders the remaining

Asserted Claims of the ’163 patent obvious by itself in light of the knowledge of a person skilled

in the art and/or in light of the DualBrite Prior Art or Tremblay. See Chart 2, infra, which

identifies where specifically in McDonough each element of each Asserted Claim is found. It

would have been obvious to one of ordinary skill in the art as of at least August 24, 2010 to

combine the teachings of McDonough with the knowledge of one skilled in the art and/or the

DualBrite Prior Art and Tremblay because they all teach similar matters in the narrow field of

lighting systems and involve substituting only a limited number of elements for other elements

with a predictable effect.

          The Asserted Claims of the ’163 patent are also invalid as not enabled under 35 U.S.C.

§ 112(1). Each of the claims requires an input of Vt, the threshold voltage for the electric current

flowing in the lighting load, in order to calculate the time difference range. However, the

specification of the ’163 patent does not disclose how to measure Vt in application and would




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require a technician to measure the threshold voltage and adjust the range. Accordingly, the ’163

patent does not disclose how to calculate the claimed time range. As of August 24, 2010, a

person of skill in the art could not determine from the specification how to use the invention

without undue experimentation.

       These Initial Invalidity Contentions are based upon the information presently known to

Defendants. Defendants’ investigation is on-going and the Court has not yet ruled on any

construction of the Asserted Claims. Defendants reserve the right to alter or amend their

invalidity contentions in light of further discovery, claim construction positions, court rulings

and expert opinion.




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                    CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                CLAIM LIMITATION                                   DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
1. A lighting control system using with a            The Heath|Zenith Secure Home Motion Sensor Light Control, Model SH-5105
microcontroller, comprising:                         (“DualBrite Prior Art”), is a lighting system. (HEATH000316–35 (© 2008);
                                                     HEATH000143; see also HEATH000314 at “Mask 2 IC1,” which is
                                                     representative of a DualBrite light sold more than one year prior to the filing
                                                     date of the application that matured into the ’163 patent; other product
                                                     specifications and circuit diagrams for prior art versions of the DualBrite lights
                                                     have been produced by Defendants and are equally applicable.)

                                                     If the claims of the ’163 patent are construed either literally or under the
                                                     doctrine of equivalents to cover the Accused Instrumentalities, including the
                                                     SH-5105-BZ, then the DualBrite Prior Art also contains a microcontroller. The
                                                     construction and operation of the DualBrite Prior Art, which is now sold as the
                                                     SH-5105-BZ (as one model), has not changed in any way relevant to the claims.
                                                     Thus, if the SH-5105-BZ meets this claim limitation, so too does the DualBrite
                                                     Prior Art. (See, e.g., HEATH000314 at “Mask 2 IC1.”)
a lighting load;                                     The SH-5105-BZ was not sold with a light bulb. (See Defs.’ Initial Non-Inf.
                                                     Conts.) However, if the claims of the ’163 patent are construed either literally
                                                     or under the doctrine of equivalents to cover the Accused Instrumentalities,
                                                     including the SH-5105-BZ, then the DualBrite Prior Art also contains a lighting
                                                     load. The construction and operation of the DualBrite Prior Art, which is now
                                                     sold as the SH-5105-BZ (as one model), has not changed in any way relevant to
                                                     the claims. Thus, if the SH-5105-BZ meets this claim limitation, so too does the
                                                     DualBrite Prior Art. (See, e.g., HEATH000316, 320 (showing bulb holders and
                                                     circuitry for insertion of lights bulbs up to 300 Watt maximum.))
a semi-conductor switching device coupled to the     If the claims of the ’163 patent are construed either literally or under the
lighting load and an AC power, wherein the semi-     doctrine of equivalents to cover the Accused Instrumentalities, including the
conductor switching device controls a time period    SH-5105-BZ, then the DualBrite Prior Art also contains a “a semi-conductor
for the AC power transmitting an electric power to   switching device coupled to the lighting load and an AC power, wherein the
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                    CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                 CLAIM LIMITATION                                    DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
the lighting load;                                   semi-conductor switching device controls a time period for the AC power
                                                     transmitting an electric power to the lighting load.” The construction and
                                                     operation of the DualBrite Prior Art, which is now sold as the SH-5105-BZ (as
                                                     one model), has not changed in any way relevant to the claims. Thus, if the SH-
                                                     5105-BZ meets this claim limitation, so too does the DualBrite Prior Art. (See,
                                                     e.g., HEATH000314 at “Q5.”)
a zero-crossing-point detection circuit coupled to   The SH-5105-BZ does not comprise “a zero-crossing-point detection circuit
the AC power, wherein the zero-crossing-point        coupled to the AC power, wherein the zero-crossing-point detection circuit
detection circuit converts AC voltage sine-waves     converts AC voltage sine-waves into symmetric square-waves.” (See Defs.’
into symmetric square-waves, and an edge of the      Initial Non-Inf. Conts.) However, if the claims of the ’163 patent are construed
symmetric square-wave corresponds to a zero-         either literally or under the doctrine of equivalents to cover the Accused
crossing point of the AC voltage sine-wave;          Instrumentalities, including the SH-5105-BZ, then the DualBrite Prior Art also
                                                     contains “a zero-crossing-point detection circuit coupled to the AC power,
                                                     wherein the zero-crossing-point detection circuit converts AC voltage sine-
                                                     waves into symmetric square-waves.” The construction and operation of the
                                                     DualBrite Prior Art, which is now sold as the SH-5105-BZ (as one model), has
                                                     not changed in any way relevant to the claims. Thus, if the SH-5105-BZ meets
                                                     this claim limitation, so too does the DualBrite Prior Art. (See, e.g.,
                                                     HEATH000314.)
and a microcontroller coupled to the semi-           The SH-5105-BZ uses a customized ASIC rather than a microcontroller. (See
conductor switching device and the zero-crossing-    Defs.’ Initial Non-Inf. Conts.) However, if the claims of the ’163 patent are
point detection circuit, wherein the microcontroller construed either literally or under the doctrine of equivalents to cover the
receives the symmetric square-wave and sends out a Accused Instrumentalities, including the SH-5105-BZ, then the DualBrite Prior
zero-crossing-point time-delay pulse to the semi-    Art also contains “a microcontroller coupled to the semi-conductor switching
conductor switching device,                          device and the zero-crossing-point detection circuit, wherein the
                                                     microcontroller receives the symmetric square-wave and sends out a zero-
                                                     crossing-point time-delay pulse to the semi-conductor switching device.” The
                                                     construction and operation of the DualBrite Prior Art, which is now sold as the
                                                     SH-5105-BZ (as one model), has not changed in any way relevant to the claims.
                                                     Thus, if the SH-5105-BZ meets this claim limitation, so too does the DualBrite


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                     CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                CLAIM LIMITATION                                       DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                         Prior Art. (See, e.g., HEATH000314 at “Mask 2 IC1” and “Q5.”)
and the zero-crossing-point time-delay pulse lags        The SH-5105-BZ does not comprise a time difference that ranges from (to) to
with a time difference behind the edge of the            (1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f is frequency of the AC power, Vm
symmetric square-wave, wherein the said time             is voltage amplitude of the AC power and Vt is threshold voltage for the electric
difference ranges from (to) to (1/(2f)−to), wherein to   current flowing in the lighting load. (See Defs.’ Initial Non-Inf. Conts.)
=(1/2πf)sin−1(Vt/Vm), f is frequency of the AC           However, if the claims of the ’163 patent are construed either literally or under
power, Vm is voltage amplitude of the AC power           the doctrine of equivalents to cover the Accused Instrumentalities, including the
and Vt is threshold voltage for the electric current     SH-5105-BZ, then the DualBrite Prior Art also comprised a time difference that
flowing in the lighting load.                            “ranges from (to) to (1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f is frequency
                                                         of the AC power, Vm is voltage amplitude of the AC power and Vt is threshold
                                                         voltage for the electric current flowing in the lighting load.” The construction
                                                         and operation of the DualBrite Prior Art, which is now sold as the SH-5105-BZ
                                                         (as one model), has not changed in any way relevant to the claims. Thus, if the
                                                         SH-5105-BZ meets this claim limitation, so too does the DualBrite Prior Art.

7. The system of claim 1, wherein the lighting load      See supra regarding claim 1.
includes a DC light-emitting diode module bridging
one port of a full-wave bridge rectifier.                The DualBrite Prior Art was capable of functioning with a lighting load that
                                                         includes a DC light-emitting diode module bridging one port of a full-wave
                                                         bridge rectifier. The DualBrite Prior Art operated with a time difference of
                                                         1.5 mS. Solving for Vt using the claimed equation recited in claim 1, gives:

                                                                                         V (t )  Vm sin t

                                                         where ω=2πf. Using a frequency of the AC power of 60 Hz, a Vm of 110, and t
                                                         of 1.5 mS, Vt is calculated to be about 89V.

                                                         One skilled in the art at the time of the application that matured into the ’163
                                                         patent would know that this Vt would encompass an LED bulb. One skilled in
                                                         the art would also know that an LED bulb may include a module bridging one


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   CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
CLAIM LIMITATION                              DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                               port of a full-wave bridge rectifier. (See, e.g., HEATH000576 at 6:60–65 (“The
                               diode bridge and filter component 28 includes a diode bridge D16 for full wave
                               rectification of an incoming AC voltage and for allowing connection without
                               polarity for an incoming DC voltage.”))

                               Alternatively, this is a well-known and predictable design parameter for a
                               lighting system. One skilled in the art would know that a lighting system may
                               accept various types of light bulbs. LED bulbs were known prior to the critical
                               date of the ’163 patent. For example, U.S. Patent No. 8,598,805 (“Tremblay”)
                               claims priority to a provisional application filed on May 20, 2010
                               (HEATH000568), just three months before the application that led to the ’163
                               patent was filed. Tremblay describes that “use of LED bulbs to replace
                               incandescent bulbs in 12V applications is gaining popularity in a large number
                               of applications such as head lights in automobiles and other motor vehicles, as
                               well as for indoor lighting within the home, work place, boats and recreational
                               vehicles. . . LED bulbs consume less power, generate less heat and have a
                               longer operating life . . . .” (HEATH000574 at 1:21–30.) Tremblay continues
                               that “[f]or many applications, it is desirable to be able to vary the emitted light
                               intensity of a LED bulb, for example between full brightness (bright) and a less
                               bright (dim) intensity.” (Id. at 1:32–34.) Tremblay recognizes that “LEDs have
                               a minimum voltage threshold at which the LED illuminates.” (Id. at 1:38–39.)
                               Tremblay discloses that an electronic circuit 22 that allows an LED bulb to
                               function with at least two intensities, bright or dim, that comprises “input
                               terminals 25 for receiving an input voltage 26; a diode bridge and filter(s)
                               component 28 (which can be optional); a LED driver component 30; the LED
                               array 17; and a comparator circuit 32 including a switch 34.” (HEATH000576
                               at 6:20–31.) Tremblay explains that the “diode bridge and filter component 28
                               includes a diode bridge D16 for full wave rectification of an incoming AC
                               voltage and for allowing connection without polarity for an incoming DC
                               voltage.” (Id. at 6:61–64.)


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                    CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                CLAIM LIMITATION                                       DEFENDANTS’ PRELIMINARY INVALIDITY POSITION

                                                       One skilled in the art would be motivated to combine his/her knowledge that an
                                                       LED bulb would be compatible with the DualBrite Prior Art to arrive at this
                                                       claimed limitation. Tremblay shows that one skilled in the art would know that
                                                       LED bulbs were gaining popularity for uses such as the instant lighting systems,
                                                       that LED bulbs were capable of varying intensities, such as full brightness and
                                                       dim, and that an LED bulb could include a diode bridge for full wave
                                                       rectification of an incoming AC voltage. Such a combination of these known
                                                       elements would yield predictable results.

9. A method of lighting control, providing a           The DualBrite Prior Art is a lighting system that provides a method of lighting
lighting control circuit for determining a lighting    control. (HEATH000316–35; HEATH000143; see also HEATH000314 at
status of a lighting load, wherein the lighting        “Mask 2 IC1,” which is representative of a DualBrite light sold more than one
control circuit includes a semi-conductor switching    year prior to the filing date of the application that matured into the ’163 patent;
device, a zero-crossing-point detection circuit, and   other product specifications and circuit diagrams for prior art versions of the
a microcontroller, the method comprising:              DualBrite lights have been produced by Defendants and are equally applicable.)

                                                       If the claims of the ’163 patent are construed either literally or under the
                                                       doctrine of equivalents to cover the Accused Instrumentalities, including the
                                                       SH-5105-BZ, then the DualBrite Prior Art also provides a “lighting control
                                                       circuit for determining a lighting status of a lighting load, wherein the lighting
                                                       control circuit includes a semi-conductor switching device, a zero-crossing-
                                                       point detection circuit, and a microcontroller.” The construction and operation
                                                       of the DualBrite Prior Art, which is now sold as the SH-5105-BZ (as one
                                                       model), has not changed in any way relevant to the claims. Thus, if the SH-
                                                       5105-BZ meets this claim limitation, so too does the DualBrite Prior Art. (See,
                                                       e.g., HEATH000314 at “Mask 2 IC1;” HEATH000316, 320 (showing bulb
                                                       holders and circuitry for insertion of lights bulbs up to 300 Watt maximum.))
the zero-crossing-point detection circuit converting   If the claims of the ’163 patent are construed either literally or under the
AC voltage sine-waves to symmetric square-waves;       doctrine of equivalents to cover the Accused Instrumentalities, including the


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                    CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                CLAIM LIMITATION                                  DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                   SH-5105-BZ, then the DualBrite Prior Art also performed the step of a “zero-
                                                   crossing-point detection circuit converting AC voltage sine-waves to symmetric
                                                   square-waves.” The construction and operation of the DualBrite Prior Art,
                                                   which is now sold as the SH-5105-BZ (as one model), has not changed in any
                                                   way relevant to the claims. Thus, if the SH-5105-BZ meets this claim
                                                   limitation, so too does the DualBrite Prior Art. (See, e.g., HEATH000314.)
the microcontroller reading an external control    The SH-5105-BZ uses a customized ASIC rather than a microcontroller. (See
signal,                                            Defs.’ Initial Non-Inf. Conts.) However, if the claims of the ’163 patent are
                                                   construed either literally or under the doctrine of equivalents to cover the
                                                   Accused Instrumentalities, including the SH-5105-BZ, then the DualBrite Prior
                                                   Art also performed the step of a “microcontroller reading an external control
                                                   signal.” The construction and operation of the DualBrite Prior Art, which is
                                                   now sold as the SH-5105-BZ (as one model), has not changed in any way
                                                   relevant to the claims. Thus, if the SH-5105-BZ meets this claim limitation, so
                                                   too does the DualBrite Prior Art. (See, e.g., HEATH000314 at “Mask 2 IC1.”)
and executing one of a plurality of different      If the claims of the ’163 patent are construed either literally or under the
external control loops according to the external   doctrine of equivalents to cover the Accused Instrumentalities, including the
control signal,                                    SH-5105-BZ, then the DualBrite Prior Art also performed the step of
                                                   “executing one of a plurality of different external control loops according to the
                                                   external control signal.” The construction and operation of the DualBrite Prior
                                                   Art, which is now sold as the SH-5105-BZ (as one model), has not changed in
                                                   any way relevant to the claims. Thus, if the SH-5105-BZ meets this claim
                                                   limitation, so too does the DualBrite Prior Art. (See, e.g., HEATH000314.)
and generating a corresponding series of zero-     If the claims of the ’163 patent are construed either literally or under the
crossing-point time-delay pulses,                  doctrine of equivalents to cover the Accused Instrumentalities, including the
                                                   SH-5105-BZ, then the DualBrite Prior Art also performed the step of
                                                   “generating a corresponding series of zero-crossing-point time-delay pulses.”
                                                   The construction and operation of the DualBrite Prior Art, which is now sold as
                                                   the SH-5105-BZ (as one model), has not changed in any way relevant to the
                                                   claims. Thus, if the SH-5105-BZ meets this claim limitation, so too does the


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                      CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                 CLAIM LIMITATION                                       DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                         DualBrite Prior Art. (See, e.g., HEATH000314.)
wherein the zero-crossing-point time-delay pulse         The SH-5105-BZ does not comprise a time difference that ranges from (to) to
lags behind the edge of the symmetric square-wave        (1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f is frequency of the AC power, Vm
for a time difference, wherein the said time             is voltage amplitude of the AC power and Vt is threshold voltage for the electric
difference ranges from (to) to (1/(2f)−to), wherein to   current flowing in the lighting load. (See Defs.’ Initial Non-Inf. Conts.)
=(1/2πf)sin−1(Vt/Vm), f is frequency of the AC           However, if the claims of the ’163 patent are construed either literally or under
power, Vm is voltage amplitude of the AC power           the doctrine of equivalents to cover the Accused Instrumentalities, including the
and Vt is threshold voltage for the electric current     SH-5105-BZ, then the DualBrite Prior Art also comprised a “zero-crossing-
flowing in the lighting load;                            point time-delay pulse [that] lags behind the edge of the symmetric square-wave
                                                         for a time difference, wherein the said time difference ranges from (to) to
                                                         (1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f is frequency of the AC power, Vm
                                                         is voltage amplitude of the AC power and Vt is threshold voltage for the electric
                                                         current flowing in the lighting load.” The construction and operation of the
                                                         DualBrite Prior Art, which is now sold as the SH-5105-BZ (as one model), has
                                                         not changed in any way relevant to the claims. Thus, if the SH-5105-BZ meets
                                                         this claim limitation, so too does the DualBrite Prior Art.
and controlling the time period for an AC power          If the claims of the ’163 patent are construed either literally or under the
transmitting electric power to the lighting load by      doctrine of equivalents to cover the Accused Instrumentalities, including the
means of the semi-conductor switching device             SH-5105-BZ, then the DualBrite Prior Art also performed the step of
controlled by the corresponding zero-crossing-point      “controlling the time period for an AC power transmitting electric power to the
time-delay pulse.                                        lighting load by means of the semi-conductor switching device controlled by
                                                         the corresponding zero-crossing-point time-delay pulse.” The construction and
                                                         operation of the DualBrite Prior Art, which is now sold as the SH-5105-BZ (as
                                                         one model), has not changed in any way relevant to the claims. Thus, if the SH-
                                                         5105-BZ meets this claim limitation, so too does the DualBrite Prior Art. (See,
                                                         e.g., HEATH000314.)

18. The method of claim 9, wherein the external          See supra regarding claim 9.
control signal is a first external control signal or a
second external control signal, and the                  If the claims of the ’163 patent are construed either literally or under the


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                     CHART 1: HEATHCO’S PRIOR SALES OF SH-5105 (“DUALBRITE PRIOR SALES”)
                 CLAIM LIMITATION                                     DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
microcontroller executes the variant external           doctrine of equivalents to cover the Accused Instrumentalities, including the
control loops in response to the first external         SH-5105-BZ, then the DualBrite Prior Art also meets the limitation a “wherein
control signal, so as to execute a first illumination   the external control signal is a first external control signal or a second external
mode; and the microcontroller alternately executes      control signal, and the microcontroller executes the variant external control
the variant external control loops in response to the   loops in response to the first external control signal, so as to execute a first
second external control signal, so as to alternately    illumination mode; and the microcontroller alternately executes the variant
execute a second illumination mode and a third          external control loops in response to the second external control signal, so as to
illumination mode                                       alternately execute a second illumination mode and a third illumination mode.”
                                                        The construction and operation of the DualBrite Prior Art, which is now sold as
                                                        the SH-5105-BZ (as one model), has not changed in any way relevant to the
                                                        claims. Thus, if the SH-5105-BZ meets this claim limitation, so too does the
                                                        DualBrite Prior Art. (See, e.g., HEATH000317 (describing the “DualBrite®
                                                        Timer.”))

19. The method of claim 18, wherein the first           See supra regarding claim 18.
external control signal is generated by a daylight
detection circuit and the second external control       If the claims of the ’163 patent are construed either literally or under the
signal is generated by a motion detection circuit       doctrine of equivalents to cover the Accused Instrumentalities, including the
                                                        SH-5105-BZ, then the DualBrite Prior Art also meets the limitation a “the first
                                                        external control signal is generated by a daylight detection circuit and the
                                                        second external control signal is generated by a motion detection circuit.” The
                                                        construction and operation of the DualBrite Prior Art, which is now sold as the
                                                        SH-5105-BZ (as one model), has not changed in any way relevant to the claims.
                                                        Thus, if the SH-5105-BZ meets this claim limitation, so too does the DualBrite
                                                        Prior Art. (See, e.g., HEATH000316 (describing that the light is turned on when
                                                        motion is detected and that the photocell keeps the lighting off during daylight
                                                        hours.))




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                                   CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                    DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
1. A lighting control system using with a            McDonough (HEATH000552–67) discloses a lighting control system using a
microcontroller, comprising:                         microcontroller. McDonough states “the invention relates to lighting control
                                                     devices. More particularly, the invention relates to programmable wallbox
                                                     dimmers.” (HEATH000560 at 1:5–7.) McDonough discloses “The lighting
                                                     control device may include . . . a microcontroller . . . .” (HEATH000561 at
                                                     4:53–56.) McDonough describes that the microcontroller may execute
                                                     computer-executable instructions that are stored on a computer-readable
                                                     medium, such as random-access or read-only memory within the wallbox
                                                     dimmer. (HEATH000564 at 10:37–45.)
a lighting load;                                     McDonough discloses a lighting load. McDonough states “The invention
                                                     provides a programmable lighting control device that controls a light intensity
                                                     level of at least one lamp.” (Id. at 4:51–53; see also Fig. 3, reference 116.)
a semi-conductor switching device coupled to the     McDonough discloses a semi-conductor switching device coupled to the
lighting load and an AC power, wherein the semi-     lighting load and an AC power, wherein the semi-conductor switching device
conductor switching device controls a time period    controls a time period for the AC power transmitting an electric power to the
for the AC power transmitting an electric power to   lighting load. McDonough states that “The lighting load 116 may be connected
the lighting load;                                   through a controllably conductive device 118. Controllably conductive device
                                                     118 has a control, or gate, input 126, which is connected to a gate drive circuit
                                                     131. It should be understood that control inputs on the gate input 126 will
                                                     render the controllably conductive device 118 conductive or non-conductive,
                                                     which in turn controls the power supplied to the lighting load 116. Drive
                                                     circuitry 131 provides control inputs to the controllably conductive device 118
                                                     in response to command signals from a microcontroller 132.” (HEATH000562
                                                     at 6:4–14; see also Fig. 3.) McDonough continues that “Phase-controlled
                                                     dimmers are well known and perform dimming functions by selectively
                                                     connecting the AC power source 148 to the lighting load 116 during each half-
                                                     cycle of the AC waveform received from the power source. The AC power may
                                                     be switched using controllably conductive devices [118] such as triacs, anti-
                                                     parallel SCRs, field effect transistors (FETs), or insulated gate bipolar


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                                   CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
               CLAIM LIMITATION                                     DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                     transistors (IGBTs). The amount of dimming is determined by the ratio of ‘ON’
                                                     time to ‘OFF’ time of the controllably conductive device 118.” (Id. at 6:14–23.)
a zero-crossing-point detection circuit coupled to   McDonough discloses a zero-crossing-point detection circuit coupled to the AC
the AC power, wherein the zero-crossing-point        power, wherein the zero-crossing-point detection circuit converts AC voltage
detection circuit converts AC voltage sine-waves     sine-waves into symmetric square-waves, and an edge of the symmetric square-
into symmetric square-waves, and an edge of the      wave corresponds to a zero-crossing point of the AC voltage sine-wave.
symmetric square-wave corresponds to a zero-         McDonough states that “The zero-crossing detector determines the zero-
crossing point of the AC voltage sine-wave;          crossing points of the input waveform from the power supply 112. The
                                                     microcontroller sets up gate control signals to operate the switching device to
                                                     provide voltage from the power supply 112 to the load 116 at predetermined
                                                     times relative to the zero-crossing points of the waveform. The zero-crossing
                                                     detector may be a conventional zero-crossing detector, and need not be
                                                     described here in further detail.” (HEATH000560 at 2:24–32.) McDonough
                                                     further states “zero-crossing detector 134 determines the zero-crossing points of
                                                     the input 60 HZ AC waveform from the AC power source 148.”
                                                     (HEATH000562 at 6:53–55; see also Fig. 3.) A conventional zero-crossing
                                                     detector is typically understood to convert sine waves into square waves when
                                                     the sine wave crosses zero. (See, e.g., U.S. Patent No. 4,345,169 at 1:7–15;
                                                     Figs. 3A, 3B (issued Aug. 17, 1982) (HEATH000548–551.))
and a microcontroller coupled to the semi-           McDonough discloses a microcontroller coupled to the semi-conductor
conductor switching device and the zero-crossing-    switching device and the zero-crossing-point detection circuit, wherein the
point detection circuit, wherein the microcontroller microcontroller receives the symmetric square-wave and sends out a zero-
receives the symmetric square-wave and sends out a crossing-point time-delay pulse to the semi-conductor switching device.
zero-crossing-point time-delay pulse to the semi-    McDonough states that “Drive circuitry 131 provides control inputs to the
conductor switching device,                          controllably conductive device 118 in response to command signals from a
                                                     microcontroller 132.” (HEATH000562 at 6:11–13; see also Fig. 3.)
                                                     McDonough discloses that “Zero-crossing detector 134 determines the zero-
                                                     crossing points of the input 60 HZ AC waveform from the AC power source
                                                     148. The zero-crossing information is provided as an input to microcontroller
                                                     132. Microcontroller 132 sets up gate control signals to operate controllably


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                                    CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                        DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                         conductive device 118 to provide voltage from the AC power source to lighting
                                                         load 116 at predetermined times relative to the Zero-crossing points of the AC
                                                         waveform. Zero-crossing detector may be a conventional zero-crossing
                                                         detector, and need not be described here in further detail. In addition, the timing
                                                         of transition firing pulses relative to the zero crossings of the waveform is also
                                                         known, and need not be described further.” (Id. at 6:53–65.)
and the zero-crossing-point time-delay pulse lags        McDonough discloses that “the zero-crossing-point time-delay pulse lags with a
with a time difference behind the edge of the            time difference behind the edge of the symmetric square-wave, wherein the said
symmetric square-wave, wherein the said time             time difference ranges from (to) to (1/(2f)−to), wherein to =(1/2πf)sin−1(Vt/Vm), f
difference ranges from (to) to (1/(2f)−to), wherein to   is frequency of the AC power, Vm is voltage amplitude of the AC power and Vt
=(1/2πf)sin−1(Vt/Vm), f is frequency of the AC           is threshold voltage for the electric current flowing in the lighting load.” A
power, Vm is voltage amplitude of the AC power           sinusoidal source produces a signal that varies sinusoidally with time. A
and Vt is threshold voltage for the electric current     sinusoid can be expressed as a sine function as follows:
flowing in the lighting load.
                                                                                          V (t )  Vm sin t

                                                         where Vm is the maximum amplitude and ω is the angular frequency, or ω=2πf
                                                         (rad/sec). See, e.g., Muhammad H. Rashid, THE ENGINEERING HANDBOOK 109-
                                                         1–109-2 (Richard C. Dorf ed., CRC Press 2005) (2004), available at
                                                         https://books.google.com/books?id=l_TLBQAAQBAJ&printsec=frontcover#v=
                                                         onepage&q&f=false.

                                                         A time where the voltage reaches Vt is simply:

                                                                                               1          V 
                                                                                         t       sin 1  t 
                                                                                              2f          Vm 

                                                         This is the equation for to, as shown below:



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               CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
CLAIM LIMITATION                             DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                           V (t )  Vm sin t
                                Dividing by Vm gives:

                                                                        Vt
                                                                            sin t
                                                                        Vm

                                Solving for t:

                                                              V               1         V     
                                                      sin 1  t      t if   sin 1  t      t
                                                               Vm                       Vm    

                                Substituting ω=2πf gives:
                                                                      1          V 
                                                                         sin 1  t   t
                                                                     2f          Vm 

                                which is the equation for the claimed to. Thus, McDonough discloses to.

                                McDonough also discloses that the time difference ranges from (to) to
                                (1/(2f)−to). McDonough describes “A typical, AC, phase-control dimmer
                                regulates the amount of energy supplied to the lighting load 116 by conducting
                                for some portion of each half-cycle of the AC waveform, and not conducting for
                                the remainder of the half-cycle. Because the dimmer 114 is in series with the
                                lighting load 116, the longer the dimmer 114 conducts, the more energy will be
                                delivered to the lighting load 116. Where the lighting load 116 is a lamp set, the
                                more energy delivered to the lighting load 116, the greater the light intensity
                                level of the lamp set. In a typical dimming scenario, a user may adjust a control
                                to set the light intensity level of the lamp set to a desired light intensity level.
                                The portion of each half-cycle for which the dimmer conducts is based on the


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                                  CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
               CLAIM LIMITATION                                      DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                      selected light intensity level.” (HEATH000560 at 1:32–45.) McDonough then
                                                      describes that a user may program high-end and low-end trim features: “‘High
                                                      end trim’ is a feature that governs the maximum intensity level to which the
                                                      lighting load 116 may be set by the dimmer. Typical values for the high end
                                                      trim range between about 60% and about 100% of full intensity. In an example
                                                      embodiment, the high end trim may be preprogrammed to about be 90% of full
                                                      intensity. In a wallbox dimmer according to the invention, high end trim is a
                                                      feature that may be user-programmed as described below. Similarly, ‘low end
                                                      trim’ is a feature that governs the minimum intensity level to which the lighting
                                                      load 116 may be set by the dimmer. Typical values for the low end trim range
                                                      between about 1% and about 20% of full intensity. In an example embodiment,
                                                      the low end trim may be preprogrammed to about be 10% of full intensity. In a
                                                      wallbox dimmer according to the invention, low end trim is a feature that may
                                                      be user-programmed as described below.” (HEATH000564 at 9:10–25.) Thus,
                                                      McDonough discloses that the user may set the intensity of the light, which in
                                                      turn sets the time that the dimmer conducts (the longer the dimmer conducts,
                                                      the more energy it delivers to the lighting load, and vice versa).

7. The system of claim 1, wherein the lighting load   See supra regarding claim 1.
includes a DC light-emitting diode module bridging
one port of a full-wave bridge rectifier.             This is a well-known and predictable design parameter for a lighting system.
                                                      LED bulbs were known prior to the critical date of the ’163 patent. For
                                                      example, the DualBrite Prior Art was compatible with LED bulbs. (See supra.)
                                                      McDonough states that the lighting load “may include a variety of lamps, such
                                                      as incandescent lamps and/or other lighting loads such as electronic low voltage
                                                      (ELV) or magnetic low voltage (MLV) loads, for example.” (HEATH000560 at
                                                      1:11–19.)

                                                      U.S. Patent No. 8,598,805 (“Tremblay”) (HEATH000568–78) claims priority to
                                                      a provisional application filed on May 20, 2010 (HEATH000568), just three


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               CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
CLAIM LIMITATION                               DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                months before the application that led to the ’163 patent was filed. Tremblay
                                describes that “use of LED bulbs to replace incandescent bulbs in 12V
                                applications is gaining popularity in a large number of applications such as head
                                lights in automobiles and other motor vehicles, as well as for indoor lighting
                                within the home, work place, boats and recreational vehicles. . . LED bulbs
                                consume less power, generate less heat and have a longer operating life . . . .”
                                (HEATH000574 at 1:21–30.) Tremblay continues that “[f]or many applications,
                                it is desirable to be able to vary the emitted light intensity of a LED bulb, for
                                example between full brightness (bright) and a less bright (dim) intensity.” (Id.
                                at 1:32–34.) Tremblay recognizes that “LEDs have a minimum voltage
                                threshold at which the LED illuminates.” (Id. at 1:38–39.) Tremblay discloses
                                that an electronic circuit 22 that allows an LED bulb to function with at least
                                two intensities, bright or dim, that comprises “input terminals 25 for receiving
                                an input voltage 26; a diode bridge and filter(s) component 28 (which can be
                                optional); a LED driver component 30; the LED array 17; and a comparator
                                circuit 32 including a switch 34.” (HEATH000576 at 6:20–31.) Tremblay
                                explains that the “diode bridge and filter component 28 includes a diode bridge
                                D16 for full wave rectification of an incoming AC voltage and for allowing
                                connection without polarity for an incoming DC voltage.” (Id. at 6:61–64.)

                                One skilled in the art would be motivated to combine the teachings of
                                McDonough that a variety of lights could be used in the disclosed lighting
                                system with his/her knowledge that an LED bulb would be compatible to arrive
                                at this claimed limitation. Tremblay shows that one skilled in the art would
                                know that LED bulbs were gaining popularity for uses such as the instant
                                lighting systems, that LED bulbs were capable of varying intensities, such as
                                full brightness and dim, and that an LED bulb could include a diode bridge for
                                full wave rectification of an incoming AC voltage. Such a combination of these
                                known elements would yield predictable results.



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                                   CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                  CLAIM LIMITATION                                    DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
9. A method of lighting control, providing a           McDonough discloses a method of lighting control providing a lighting control
lighting control circuit for determining a lighting    circuit for determining a lighting status of a lighting load. McDonough states
status of a lighting load, wherein the lighting        “the invention relates to lighting control devices. More particularly, the
control circuit includes a semi-conductor switching    invention relates to programmable wallbox dimmers.” (HEATH000560 at 1:5–
device, a zero-crossing-point detection circuit, and   7.)
a microcontroller, the method comprising:
                                                       McDonough discloses a lighting load. McDonough states “The invention
                                                       provides a programmable lighting control device that controls a light intensity
                                                       level of at least one lamp.” (Id. at 4:51–53; see also Fig. 3, reference 116.)

                                                       McDonough discloses that the lighting control circuit includes a semi-conductor
                                                       switching device. McDonough states that “The lighting load 116 may be
                                                       connected through a controllably conductive device 118. Controllably
                                                       conductive device 118 has a control, or gate, input 126, which is connected to a
                                                       gate drive circuit 131. It should be understood that control inputs on the gate
                                                       input 126 will render the controllably conductive device 118 conductive or non-
                                                       conductive, which in turn controls the power supplied to the lighting load 116.
                                                       Drive circuitry 131 provides control inputs to the controllably conductive
                                                       device 118 in response to command signals from a microcontroller 132.”
                                                       (HEATH000562 at 6:4–14; see also Fig. 3.)

                                                       McDonough discloses a zero-crossing-point detection circuit. McDonough
                                                       states that “The zero-crossing detector determines the zero-crossing points of
                                                       the input waveform from the power supply 112. The microcontroller sets up
                                                       gate control signals to operate the switching device to provide voltage from the
                                                       power supply 112 to the load 116 at predetermined times relative to the zero-
                                                       crossing points of the waveform. The zero-crossing detector may be a
                                                       conventional zero-crossing detector, and need not be described here in further
                                                       detail.” (HEATH000560 at 2:24–32.)



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                                   CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                      DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                       McDonough discloses a microcontroller. McDonough discloses “The lighting
                                                       control device may include . . . a microcontroller . . . .” (HEATH000561 at
                                                       4:53–56.) McDonough describes that the microcontroller may execute
                                                       computer-executable instructions that are stored on a computer-readable
                                                       medium, such as random-access or read-only memory within the wallbox
                                                       dimmer. (HEATH000564 at 10:37–45.)
the zero-crossing-point detection circuit converting   McDonough states that “The zero-crossing detector determines the zero-
AC voltage sine-waves to symmetric square-waves;       crossing points of the input waveform from the power supply 112. The
                                                       microcontroller sets up gate control signals to operate the switching device to
                                                       provide voltage from the power supply 112 to the load 116 at predetermined
                                                       times relative to the zero-crossing points of the waveform. The zero-crossing
                                                       detector may be a conventional zero-crossing detector, and need not be
                                                       described here in further detail.” (HEATH000560 at 2:24–32.) McDonough
                                                       further states “zero-crossing detector 134 determines the zero-crossing points of
                                                       the input 60 HZ AC waveform from the AC power source 148.”
                                                       (HEATH000562 at 6:53–55; see also Fig. 3.) A conventional zero-crossing
                                                       detector is typically understood to convert sine waves into square waves when
                                                       the sine wave crosses zero. (See, e.g., U.S. Patent No. 4,345,169 at 1:7–15;
                                                       Figs. 3A, 3B (issued Aug. 17, 1982) (HEATH000548–551.))
the microcontroller reading an external control        McDonough discloses that the microcontroller reads an external control signal.
signal,                                                McDonough describes that in normal operating mode, there are preprogrammed
                                                       “raise light level” and “lower light level” routines in the microcontroller.
                                                       McDonough describes that in the “raise light level” routine, depressing actuator
                                                       14a “initiates” the “raise light level” routine in microcontroller 132 and causes
                                                       it to decrease the off time of the controllably conductive device 118 via gate
                                                       drive circuit 131, which in turn increase the AC voltage that is transferred to the
                                                       lighting load, and results in a brighter light. (HEATH000563 at 7:34–62.)
and executing one of a plurality of different          McDonough discloses the microcontroller executing one of a plurality of
external control loops according to the external       different external control loops according to the external control signal.
control signal,                                        McDonough describes that in normal operating mode, there are a plurality of


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                                   CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
               CLAIM LIMITATION                                 DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                 external control loops, including at least preprogrammed “raise light level” and
                                                 “lower light level” routines in the microcontroller. McDonough describes that
                                                 in the “raise light level” routine, depressing actuator 14a “initiates” the “raise
                                                 light level” routine in microcontroller 132 whereas depressing actuator 14b
                                                 “initiates” the “lower light level” routine in microcontroller 132.
                                                 (HEATH000563 at 7:34–62.)
and generating a corresponding series of zero-   McDonough discloses generating a series of zero-crossing-point time-delay
crossing-point time-delay pulses,                pulses. McDonough states that “microcontroller 132 sets up gate control signals
                                                 to operate controllably conductive device 118 to provide voltage from the AC
                                                 power source to lighting load 116 at predetermined times relative to the zero-
                                                 crossing points of the AC waveform. Zero-crossing detector 134 may be a
                                                 conventional zero-crossing detector and need not be described here in further
                                                 detail. In addition, the timing of transition firing pulses relative to the zero
                                                 crossings of the AC waveform is also known, and need not be described
                                                 further.” (HEATH000562 at 6:56–65.) McDonough describes that in the “raise
                                                 light level” routine, microcontroller 132 “decrease[s] the off (i.e., non-
                                                 conduction) time of controllably conductive device 118 via gate drive circuit
                                                 131. Decreasing the off time increases the amount of time controllably
                                                 conductive device 118 is conductive, which means that a greater proportion of
                                                 AC voltage from the AC input is transferred to lighting load 116. Thus, the light
                                                 intensity level of lighting load 116 may be increased. The off time decreases as
                                                 long as the raise switch R remains closed. After the raise switch R opens, e.g.,
                                                 by the user releasing actuator 14a, the routine in the microcontroller is
                                                 terminated, and the off time is held constant.” (HEATH000563 at 7:34–47.)
                                                 Similarly, McDonough describes that in the “lower light level” routine,
                                                 microcontroller 132 “increase[s] the off time of controllably conductive device
                                                 118 via gate drive circuit 131. Increasing the off time decreases the amount of
                                                 time controllably conductive device 118 is conductive, which means that a
                                                 lesser proportion of AC voltage from the AC input is transferred to lighting load
                                                 116. Thus, the light intensity level of lighting load 116 may be decreased. The


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                                    CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                        DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                         off time is increased (without turning off the dimmer) as long as the lower
                                                         switch L remains closed. After the lower switch L opens, e. g., by the user
                                                         releasing actuator 14b, the routine in the microcontroller 132 is terminated, and
                                                         the off time is held constant.” (Id. at 7:48–62.)
wherein the zero-crossing-point time-delay pulse         McDonough discloses that “the zero-crossing-point time-delay pulse lags
lags behind the edge of the symmetric square-wave        behind the edge of the symmetric square-wave for a time difference, wherein
for a time difference, wherein the said time             the said time difference ranges from (to) to (1/(2f)−to), wherein
difference ranges from (to) to (1/(2f)−to), wherein to   to = (1/2πf)sin−1(Vt/Vm), f is frequency of the AC power, Vm is voltage
=(1/2πf)sin−1(Vt/Vm), f is frequency of the AC           amplitude of the AC power and Vt is threshold voltage for the electric current
power, Vm is voltage amplitude of the AC power           flowing in the lighting load.” A sinusoidal source produces a signal that varies
and Vt is threshold voltage for the electric current     sinusoidally with time. A sinusoid can be expressed as a sine function as
flowing in the lighting load;                            follows:

                                                                                         V (t )  Vm sin t

                                                         where Vm is the maximum amplitude and ω is the angular frequency, or ω=2πf
                                                         (rad/sec). See, e.g., Muhammad H. Rashid, THE ENGINEERING HANDBOOK 109-
                                                         1–109-2 (Richard C. Dorf ed., CRC Press 2005) (2004), available at
                                                         https://books.google.com/books?id=l_TLBQAAQBAJ&printsec=frontcover#v=
                                                         onepage&q&f=false.

                                                         A time where the voltage reaches Vt is simply:

                                                                                              1          V 
                                                                                        t       sin 1  t 
                                                                                             2f          Vm 

                                                         This is the equation for to, as shown below:

                                                                                         V (t )  Vm sin t


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               CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
CLAIM LIMITATION                             DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                Dividing by Vm gives:

                                                                        Vt
                                                                            sin t
                                                                        Vm

                                Solving for t:

                                                              V               1         V     
                                                      sin 1  t      t if   sin 1  t      t
                                                               Vm                       Vm    

                                Substituting ω=2πf gives:
                                                                      1          V 
                                                                         sin 1  t   t
                                                                     2f          Vm 

                                which is the equation for the claimed to. Thus, McDonough discloses to.

                                McDonough also discloses that the time difference ranges from (to) to
                                (1/(2f)−to). McDonough describes “A typical, AC, phase-control dimmer
                                regulates the amount of energy supplied to the lighting load 116 by conducting
                                for some portion of each half-cycle of the AC waveform, and not conducting for
                                the remainder of the half-cycle. Because the dimmer 114 is in series with the
                                lighting load 116, the longer the dimmer 114 conducts, the more energy will be
                                delivered to the lighting load 116. Where the lighting load 116 is a lamp set, the
                                more energy delivered to the lighting load 116, the greater the light intensity
                                level of the lamp set. In a typical dimming scenario, a user may adjust a control
                                to set the light intensity level of the lamp set to a desired light intensity level.
                                The portion of each half-cycle for which the dimmer conducts is based on the
                                selected light intensity level.” (HEATH000560 at 1:32–45.) McDonough then


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                                  CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
               CLAIM LIMITATION                                      DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                      describes that a user may program high-end and low-end trim features: “‘High
                                                      end trim’ is a feature that governs the maximum intensity level to which the
                                                      lighting load 116 may be set by the dimmer. Typical values for the high end
                                                      trim range between about 60% and about 100% of full intensity. In an example
                                                      embodiment, the high end trim may be preprogrammed to about be 90% of full
                                                      intensity. In a wallbox dimmer according to the invention, high end trim is a
                                                      feature that may be user-programmed as described below. Similarly, ‘low end
                                                      trim’ is a feature that governs the minimum intensity level to which the lighting
                                                      load 116 may be set by the dimmer. Typical values for the low end trim range
                                                      between about 1% and about 20% of full intensity. In an example embodiment,
                                                      the low end trim may be preprogrammed to about be 10% of full intensity. In a
                                                      wallbox dimmer according to the invention, low end trim is a feature that may
                                                      be user-programmed as described below.” (HEATH000564 at 9:10–25.) Thus,
                                                      McDonough discloses that the user may set the intensity of the light, which in
                                                      turn sets the time that the dimmer conducts (the longer the dimmer conducts,
                                                      the more energy it delivers to the lighting load, and vice versa).
and controlling the time period for an AC power       McDonough discloses controlling the time period for an AC power transmitting
transmitting electric power to the lighting load by   electric power to the lighting load by means of the semi-conductor switching
means of the semi-conductor switching device          device controlled by the corresponding zero-crossing-point time-delay pulse.
controlled by the corresponding zero-crossing-point   McDonough states that “The lighting load 116 may be connected through a
time-delay pulse.                                     controllably conductive device 118. Controllably conductive device 118 has a
                                                      control, or gate, input 126, which is connected to a gate drive circuit 131. It
                                                      should be understood that control inputs on the gate input 126 will render the
                                                      controllably conductive device 118 conductive or non-conductive, which in turn
                                                      controls the power supplied to the lighting load 116. Drive circuitry 131
                                                      provides control inputs to the controllably conductive device 118 in response to
                                                      command signals from a microcontroller 132.” (HEATH000562 at 6:4–14; see
                                                      also Fig. 3.) McDonough continues that “Phase-controlled dimmers are well
                                                      known and perform dimming functions by selectively connecting the AC power
                                                      source 148 to the lighting load 116 during each half-cycle of the AC waveform


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                                     CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                        DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                         received from the power source. The AC power may be switched using
                                                         controllably conductive devices [118] such as triacs, anti-parallel SCRs, field
                                                         effect transistors (FETs), or insulated gate bipolar transistors (IGBTs). The
                                                         amount of dimming is determined by the ratio of ‘ON’ time to ‘OFF’ time of
                                                         the controllably conductive device 118.” (Id. at 6:14–23.)

18. The method of claim 9, wherein the external          See supra regarding claim 9.
control signal is a first external control signal or a
second external control signal, and the                  McDonough also discloses additional external control loops that may be
microcontroller executes the variant external            activated in response to additional external control signals. For example, in
control loops in response to the first external          addition to “raise light level” and “lower light level” illumination modes,
control signal, so as to execute a first illumination    described supra in claim 9, McDonough discloses a “fade to off” illumination
mode; and the microcontroller alternately executes       mode: “In an example embodiment of a wallbox dimmer operating in normal
the variant external control loops in response to the    operational mode, different closures of the toggle switch T will result in
second external control signal, so as to alternately     different effects depending on the state of lighting load 116 when the actuator
execute a second illumination mode and a third           16 is actuated. For example, when the lighting load 116 is at an initial, non-zero
illumination mode                                        intensity level, a single tap of actuator 16 [e.g., a first external control signal],
                                                         i.e., a transitory closure of toggle switch T, may cause the load to fade to off.
                                                         Two taps in quick succession [e.g., a second external control signal] may
                                                         initiate a routine in microcontroller 132 that causes the lighting load 116 to fade
                                                         from the initial intensity level to the full intensity level at a preprogrammed
                                                         fade rate. A ‘hold’ of the actuator 16 [e.g., another external control signal], i.e.,
                                                         a closure of toggle switch T for more than a transitory duration, may initiate a
                                                         routine in microcontroller 132 that gradually fades in a predetermined fade rate
                                                         sequence over an extended period of time from the initial intensity level to off
                                                         [e.g., a third illumination mode]. When the lighting load 116 is off and
                                                         microcontroller 132 detects a single tap or a closure of more than transitory
                                                         duration, a preprogrammed routine is initiated in microcontroller 132 that
                                                         causes the lighting load 116 to fade from off to a preset desired intensity level at
                                                         a preprogrammed fade rate. Two taps in quick succession will initiate a routine


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                                    CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
                CLAIM LIMITATION                                    DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                                     in microcontroller 132 that causes the light intensity level of the lighting load
                                                     116 to fade at a predetermined rate from off to full. The fade rates may be the
                                                     same, or they may be different.” (HEATH000563 at 8:13–38.) McDonough
                                                     continues that “A wallbox dimmer such as described [] may be preprogrammed
                                                     to provide certain features, examples of which are described below. The
                                                     value(s) associated with the feature(s) may be stored in memory 137 in the
                                                     wallbox dimmer. When the feature is employed during normal operation of the
                                                     dimmer, the microcontroller 132 may access the memory 137 to retrieve the
                                                     value(s) and cause the dimmer to perform [i.e., execute a control loop]
                                                     according to the stored value(s).” (Id. at 8:47–54.) McDonough also discloses
                                                     “any or all of the features that define the fade features may be user-
                                                     programmed. When the actuator 16 is actuated, depending on the state of
                                                     lighting load 116 When the actuator 16 is actuated, and based on the number
                                                     and type of closures of the toggle switch T, the microcontroller 132 may access
                                                     the memory 137 to retrieve one or more of the user-selected values.”
                                                     (HEATH000564 at 10:18–27.) Thus, McDonough discloses various external
                                                     control signals that may cause the microcontroller to execute various
                                                     illumination modes.

19. The method of claim 18, wherein the first        See supra regarding claim 18.
external control signal is generated by a daylight
detection circuit and the second external control    This is a well-known and predictable design parameter for a lighting system.
signal is generated by a motion detection circuit    Daylight detection and motion detection circuits were known prior to the
                                                     critical date of the ’163 patent. For example, the DualBrite Prior Art used both
                                                     daylight detection and motion detection circuits. (See supra.) McDonough
                                                     states that “Signal detector 135 detects when the switches are closed, and
                                                     outputs signals representative of the state of the switches as inputs to
                                                     microcontroller 132. Microcontroller 132 determines the duration of closure in
                                                     response to inputs from signal detector 135. Signal detector 135 may be any
                                                     form of conventional circuit for detecting a switch closure and converting it to a


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               CHART 2: U.S. PATENT NO. 7,190,125 (“MCDONOUGH”)
CLAIM LIMITATION                              DEFENDANTS’ PRELIMINARY INVALIDITY POSITION
                                form suitable as an input to a microcontroller 132. Those skilled in the art will
                                understand how to construct signal detector 135 without the need for further
                                explanation herein.” (HEATH000563 at 7:24–33.) One skilled in the art would
                                be motivated to combine the teachings of McDonough that the microcontroller
                                could be programmed to receive inputs from a signal detector with his/her
                                knowledge of daylight and motion detection circuits to arrive at this claimed
                                limitation. Such a combination of these known elements would yield
                                predictable results.




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                              CERTIFICATE OF SERVICE

        The undersigned certifies that the following were served with a copy the above

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